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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,
-vs-                                                Case # 17-20775

                                                    HON. ROBERT CLELAND
ANTHONY MARROCCO,

               Defendant.
____________________________/
                    MOTION FOR DOWNWARD VARIANCE

       Now comes Anthony Marrocco, by and through his attorney Steven
Fishman, and in support of his Motion for Downward Variance states as follows:

       1. Mr. Marrocco is scheduled for sentencing on January 26, 2023.

       2. The parties agree that his sentencing guideline range is 10-16 months.
       3. Defense counsel intends to argue that the Court should grant a

downward variance and impose a non-custody sentence.
       4. The reasons for defense counsel’s request will be set forth in his

sentencing memorandum which will be filed timely in accordance with the Court’s
scheduling order.

       WHEREFORE, Defendant Marrocco requests that the Court grant his

Motion for Downward Variance.

                                                    Respectfully submitted,
                                                    s/ Steven Fishman
                                                    Steven Fishman (P23049)
                                                    615 Griswold, Suite #1120
                                                    Detroit, MI 48226
Dated: January 9, 2023                              e-mail: sfish66@yahoo.com
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                            BRIEF IN SUPPORT OF
                      MOTION FOR DOWNWARD VARIANCE
       The relief requested in the attached motion lies within the sound discretion

of the trial judge.
                                                    s/ Steven Fishman
                                                    Steven Fishman (P23049)
                                                    Attorney for Defendant
                                                    615 Griswold, Suite #1120
                                                    Detroit, MI 48226
                                                    (313) 920-2001
                                                    e-mail: sfish66@yahoo.com
Dated: January 9, 2023




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                        CERTIFICATE OF SERVICE
      On January 9, 2023, I served a copy of the attached Motion for Downward

Variance upon Steven Cares, AUSA, by filing same electronically.
                                                 s/ Steven Fishman
                                                 Steven Fishman




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